                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                      _____________________________

                           Case No. 6D2023-1995
                       Lower Tribunal No. 21-CF-14985
                      _____________________________

                              OCTAVIUS BOLDEN,

                                  Appellant,
                                       v.

                              STATE OF FLORIDA,

                                   Appellee.
                      _____________________________

               Appeal from the Circuit Court for Orange County.
                          Mark S. Blechman, Judge.

                                August 27, 2024

PER CURIAM.

      AFFIRMED.

NARDELLA, WOZNIAK and BROWNLEE, JJ., concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Daniel Muller, Assistant Public
Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Daniel Caldwell, Assistant
Attorney General, Daytona Beach, for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
          AND DISPOSITION THEREOF IF TIMELY FILED
